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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



REBECCA METZINGER, M.D.,                                    CIVIL ACTION
                                                            NUMBER: 19-10614
V.

UNITED STATES DEPARTMENT OF
VETERANS AFFAIRS, THROUGH ITS
SECRETARY                                                   SECTION__
                                                            JUDGE _____________
                                                            MAGISTRATE________

***************************************************************************
                           ORIGINAL COMPLAINT

                                 (EQUAL PAY ACT CLAIM)

       NOW INTO COURT, through undersigned counsel, comes plaintiff Rebecca Metzinger,

M.D. (“Dr. Metzinger or Plaintiff) a resident of the Parish of Orleans and a person of the full age

of majority and states as follows:


                                                  1.
                          JURISDICTION /FEDERAL QUESTION


       Jurisdiction is proper in this Court as it involves a federal question under 28 U.S.C. 1331

and the United States is a Defendant through the Department of Veterans Affairs. This action is

brought under the Equal Pay Act of 1963, 29 U.S.C.206(d).

                                                  2.

                                             VENUE

       Venue is proper in this Court as plaintiff is a resident of the Parish of Orleans, State of

Louisiana and     employed as a Title 38 physician with the defendant's Veterans Health
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Administration facility (“the VA”) located in New Orleans Louisiana, Parish of Orleans and the

Defendant is a government agency who is subject to suit in this Court.



                                                  3.

                                               PARTIES

       PLAINTIFF:

       Plaintiff, Dr. Rebecca Metzinger, is a Board Certified Opthalmologist (corneal specialist)

employed as Chief of Opthalmology at the New Orleans VA hospital.

        DEFENDANT:

       Made Defendant herein is: United States Department of Veteran Affairs (hereafter

referred to as the VA, or “the agency”) through its Secretary.



                       BASIS FOR CLAIM: EQUAL PAY ACT VIOLATION

                                                  4.
       This is an action filed pursuant to the Equal Pay Act of 1973, 29 U.S.C.206 (“the EPA”).

Plaintiff alleges that Dr. Metzinger is receiving and has received less pay than an individual of

the opposite sex, while she performs       a job requiring equal (or greater) skill, effort and

responsibility and which she performs under similar working conditions. Dr. Metzinger is

seeking an award of monetary damages, for sex-based wage discrimination, including but not

limited to the following, as allowed under the EPA:

       1) Back pay based on what Dr. Metzinger would have been entitled to, had she been
          paid appropriately and in the absence of discrimination based on sex.
       2) Interest on that amount as allowed under the EPA
       3) Liquidated Damages in an amount equal to the back pay award as the agency's
          actions constituted a willful violation of the EPA.
       4) Non Pecuniary Damages
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       5)   Future Pecuniary Damages
       6)   Attorneys Fees
       7)   Penalties
       8)   Costs and judicial interest as allowed by law
       9)   Injunctive Relief, and Declaratory Relief
                                       TIMELINESS OF THE CLAIM

                                                  5.

       Dr. Metzinger filed a complaint alleging EPA violations, together with other claims of

discrimination, hostile work environment, etc., with the EEOC on June 20, 2017 (which

remains pending) after presenting her claim to Human Resources (“HR”) at the facility on May

22, 2017 alleging the VA was in violation and she was suffering from sex based wage

discrimination. Dr. Metzinger has not received any back pay, despite proof of violation, and

demonstrating her entitlement to back pay under the EPA to the VA through the complaint filed

and evidence produced during discovery of the pending complaint. The filing of this action is

timely as it is being filed within three years of the Defendant Agency's willful violation of the

EPA, and also within two years, pleading in the alternative, of any non- willful violation of the

EPA.

                                     GENERAL ALLEGATIONS



                                                  6.

   On May 22, 2017 Plaintiff advised Darvon Thomas, Human Resources Supervisor at the VA

facility, as well as a facility EEO administrator, Karen James, that she wanted to file a complaint

based on several issues, including the fact that she was being paid less than physicians who work

under her supervision in her section, who are male. On June 20, 2017 she filed a complaint

alleging inter alia wage discrimination based on sex under both Title VII and as a violation of

the EPA. That complaint has been investigated and is pending before the EEOC. Based on this
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federal district court complaint being filed, as a matter of law, the EPA based claims of that

complaint will be dismissed from the EEOC proceeding so that this suit may proceed. However

the Title VII claims, including those based on sex discrimination resulting in lower wage, will

remain pending before the EEOC. See, Metzinger v. Robert Wilkie, Secretary, Department of

Veteran Affairs, Agency, and EEOC No : 461-2018-00121X.

                                                   7.

   Dr. Metzinger is a board certified Ophthalmologist, with a sub specialty in corneal surgery.

She was hired to serve as Chief of the Opthalmology Section of the New Orleans based VA

hospital, as a Title 38 physician, on July 6, 2008, the date she entered on duty, and accepted her

appointment as a GE 15/1 at a salary of 240,000 dollars.. Dr. Metzinger was hired as a Tier II

employee, which refers to her higher level of leadership and administrative responsibilities. Tier

II physicians who are also service chiefs as she is -- are entitled to higher pay because of the

complexity of their positions. The regular staff physician and the physicians in her section who

she supervises are all Tier 1 employees. Further, a Tier II physician salary range, at this time,

for example is 120,000 to 365,000 dollars annually. A Tier 1 physician salary range in the

Ophthalmology Specialty is 104,043 to 348,000 dollars annually. Dr. Metzinger was hired in

July 2008 at a wage of 240,000 dollars annually.

                                                   8.

   On May 22, 2017 Dr. Metzinger was provided a annual performance evaluation by Nathan

Dion, an administrator in the Surgery Section, that classified her performance as "fully

successful." with one exception -- she was         given "unacceptable" on the form respecting

leadership. This constituted a lower rating than she had received throughout her employment

which had been “exceptional” in all categories.

                                                   9.
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   The evaluation was 1) untimely, 2) should have been presented to her by her supervisor, Dr.

Smith, Chief of Surgery, not Mr. Dion 3) was not preceded by a mid- year review indicating any

problems in her performance, 4) was based on an alleged factor that had not occurred during the

fiscal year in question and therefore was not a basis for the assessment as a matter of VA policy

and regulation and 5) was without rational or truthful justification. Because of this and other

workplace factors that rose to the level of harassment and hostility towards her by the Chief of

Surgery Dr. Smith, and the Chief of Staff, Dr. Metzinger met with Mr. Darvon Thomas, a

supervisor at HR. She advised him that the Chief of Surgery had recommended for the

September 30, 2016 to October 1 2016 a lesser performance rating than she had received in all

of her prior years and the first time she learned of the rating was when she was asked by

another HR official (Dion)to sign off on this rating that very morning although she had never

received any midyear evaluation or conference from her supervisor, the Chief of Surgery Dr.

Smith. The only precedent to the evaluation was the fact that the recently arrived Chief of

Surgery, Dr. Smith and recently arrived Chief of Staff, Dr. Schapira had at one point dropped in

on Mr. Thomas’ office and informed Mr. Thomas verbally of their view that the Chief of

Opthalmology position should go to someone else and Dr. Metzinger should be removed. When

Mr. Thomas told them they needed to document the basis for this, they subsequently took no

action.

                                                  10.

   Neither Mr. Thomas nor any other person in HR nor Dr. Metzinger had ever received any

written documentation from any source, indicating that Dr. Metzinger was not performing to an

acceptable level, or that her performance was in any way not exceptional, as it had been. In

addition to reporting other acts of hostility and harassment, by them towards her, at that time Dr.

Metzinger also had a discussion with Mr. Thomas respecting her pay, as she had only recently
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seen some salary numbers for the physicians she supervised and she asked whether as Chief of

Section she should be receiving higher pay than her staff physicians she supervised. Mr. Thomas

advised her that she should file an EEO complaint, stating that she was entitled to a higher salary

than the staff, as she is a Tier II physician and the staff is Tier 1.

                                                     11.

    Dr. Metzinger filed a EEO claim against the Agency in June 2017. Thereafter Dr. Metzinger,

the Chief of Ophthalmology Section, was not permitted to sit as a member of Compensation /Pay

Panel reviewing physicians under her, in violation of federal regulations. Prior to that Dr.

Metzinger had been invited to participate as a member in pay panels every year. As of today Dr.

Metzinger has not been invited to participate in ANY pay panel committees, even with respect

to panels convened to evaluate the staff who she supervises as Chief.

                                                     12.


    Dr. Metzinger also learned that there are four categories of pay that a Title 38 physician may

receive, one of which is "Market Pay." Market pay depends recommendations of a compensation

panel that is convened for the purposes of performing the market pay review            and whose

recommendations must be approved by the Medical Center Director after passing through the

Chief of Staff for his concurrence. Market pay is evaluated bi annually, which means between

2008 and 2018 Dr. Metzinger should have received five market pay compensation panel reviews.

                                                     13.

    Thereafter Dr. Metzinger obtained, through the EEOC discovery process, salary information,

specifically Form SF50’s of all the physicians who she supervised, and learned, that whereas

the Agency had not convened a bi- annual Merit Pay Panel on her behalf since she was

employed in 2008, other physicians, all males, had actually received merit pay panels and market
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pay increases during several of those years and they were being paid more than she was although

she was the Chief of Section.



                                                  14.

   Despite receiving "exceptional" in all categories of all of her annual performance

evaluations, for nine years, from 2008, until the evaluation provided to her in May 2017, no

market pay panels were ever convened on her behalf. Dr. Metzinger learned that she would have

been the subject of FIVE bi annual panels convened from date of her employment had the

agency followed the regulations. In fact there had been NONE Dr. Metzinger received no

increases for merit or market pay in all of that time. The only pay increase she received was

mandatory pay increases -- namely the step increases or the cost of living increases mandated on

the basis of longevity..

                                                  15.

    After she filed her claim, the VA convened, a market panel on her behalf in September

2017. At the time of this panel Dr. Metzinger was receiving Adjusted Basic Pay of 261,045.00

dollars. At the market panel meeting, the panel members stated that Dr. Metzinger was to be

awarded nearly 40,000 DOLLARS pay increase at one time, bringing her pay to 300,000

dollars, making her the highest paid in the section effective 2016 when she would have been

entitled to a market pay panel. Dr. Metzinger did NOT receive any of the merit pay increase until

October 2017. Furthermore she has never received any back pay despite obvious EPA violation.

Dr. Metzinger is entitled to back pay under the EPA from at least three years prior to the date of

filing of the claim in the EEOC, June 20, 2017.

                                                  16.
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   Dr. Metzinger’s file was audited in 2019 by Ms. Debbie Richard, a Assistant Deputy of HR.

Ms. Richard determined that the wrong figure was input in the system in 2017 instead of the

300,000 dollars salary she was entitled to. Ms. Richard also determined that Dr. Metzinger

should have been given the merit pay panel of 300,000 dollars from July 2016, (which would

have been the date of her last mandatory bi annual market pay panel, had the agency been

convening pay panels on her behalf), and therefore should receive back pay to August 17, 2016.

Despite this, Dr. Metzinger has still not received any of that back pay either.

                                                   17.

    FACTUAL ALLEGATIONS SUPPORTING WILLFUL VIOLATION OF THE EPA

FIRST COMPARATOR: DR. DIAMOND:

   After Dr. Metzinger filed the EEO claim she requested the wages information respecting

other subspecialists. HR responded to written discovery requests for salary information, but did

not provide accurate information respecting the other all Tier 1 physicians who she supervised.

Instead the numbers were far lower than the actual wages they were receiving. Dr. Diamond, for

example is a Tier 1 staff retina specialist who performs very few, less than a dozen surgeries per

year, and sees far fewer patient visits than Dr. Metzinger who also has her responsibilities as

chief. The VA responded to Dr. Metzinger's Interrogatories stating that Dr. Diamond was hired

in 2008 at 235,000 dollars per year. However the truth is Dr. Diamond was quickly increased

to a salary of 265,000 dollars in 2009, without any additional responsibilities or leadership role.


                                                   18.

   Furthermore, as the EEOC claim progressed, Dr. Metzinger learned that               in 2009 Dr.

Diamond was also given a retention incentive of an additional 35,000 dollars annually for several

years even though retention incentives are designed for one year, usually when a facility is being
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moved. Dr. Diamond was not legally qualified under the Regulations to receive a retention

incentive. Dr. Diamond's retention incentive was still in effect in 2012 because the market panel

documents produced on when a panel was convened on his behalf, discusses it. Moreover,

Retention incentive must be supported by a bona fide job offer in writing. The VA never

produced a retention incentive bona fide job offer. Furthermore, the retention bonus required his

service chief’ concurrence. Dr. Metzinger was never consulted as to Dr. Diamond's bonus and

did not know of it. Although Dr. Metzinger was responsible as "Supervisor" for ensuring that Dr.

Diamond was always rated as "fully successful" or higher in order for his retention bonus to

remain valid, Dr. Metzinger was never told of Dr. Diamond's retention incentive. The Agency

did NOT require a service agreement of Dr. Diamond, and did not meet the requirements of VA

Handbook 5007/35 Part VI Appendix Q Nov. 19, 2009.


                                                 19.

    Documents revealed that Dr. Diamond was making 305,000 dollars per year when Dr.

Metzinger was making 261,000 on January, 2017. Dr. Diamond had also received market pay

increases whereas Dr. Metzinger received none. Lastly, on September 12, 2016 the Chief of

Surgery, Dr. Smith REQUESTED AND convened a market pay compensation panel on behalf

of Dr. Diamond. Dr. Diamond       received a market pay increase in October of 2016 to from

282,872 to 288,000 and then step increases. Although Dr. Smith requested a market pay increase

on behalf of Dr. Diamond, Dr. Smith did NOT request a market pay increase on behalf of Dr.

Metzinger. By January 7, 2017 Dr. Diamond was taking home 289,146 dollars.              The VA

acknowledged that from October, 2016 through September, 2017 Dr. Diamond had only ONE

level A surgery and 41 Level B surgeries. Dr. Diamond between September 2107 and October

2018 did only 31 level Bs and only 6 level A surgeries. This is as compared to Dr. Metzinger
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who performs hundreds of surgeries annually. Further, most of the operative retina services were

contracted out to private physicians outside the VA. In fact the VA did not have and has not had

the facilities to handle retina surgeries on complicated patients. Therefore Dr. Diamond was not

even expected to perform retina surgeries


SECOND COMPARATOR: Dr.Vincent.


        Dr. Jared Vincent, a male subspecialist is also a Tier 1 staff physician. He was hired on

June 1, 2014 at a starting pay of 250, 000 dollars. Dr. Metzinger, his Chief, and Tier II, was only

making 253,000 at that time even though she had been working for the VA as Chief since 2008.

Dr. Vincent was suspended and fired in 2017 for misfeasance.


THIRD COMPARATOR: Dr. Carriere


       Dr. Carriere is a Tier 1 male staff physician who is not a sub specialist and does not

perform surgeries.    In 2016 he was making 256,000 dollars per year as compared with his

Chief's 257,234 dollars – despite all of her additional responsibilities and qualifications as

surgeon, and Chief of Section.


                                                  20.


 FOURTH COMPARATOR: Arley Jaramillo


       Dr. Jaramillo began working for the VA as a fellow, still in training, not on staff, limited

hours, and he was paid 150,000 dollars. Dr. Jaramillo was not hired as staff until September 23,

2012. He received a market pay increase from the 149, 013 dollars he was paid while he was a

fellow to 247,000 dollars annually. On October 2, 2016 Dr. Jaramillo received a market pay
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increase which made his take home pay 278,335 dollars as a Tier 1 after four years of

employment. On October 2, 2016 Dr. Metzinger his supervisor was making 260,599 dollars. By

January 8, 2017, Dr. Jaramillo, a Tier 1 physician was taking home $280, 937 dollars;. That was

20,000 dollars MORE than his Tier II Chief, Dr. Metzinger.

                                       21.
               DISPARITIES NOT JUSTIFIED BY MERIT SYSTEM

       The disparity between Dr. Metzinger's pay and the comparators is not justified by a 1) a

merit system; (2) a seniority system; (3) a system which measures earnings by the quantity or

quality of production; or (4) a differential based on any factor other than sex, adopted for a

legitimate business reason. Dr. Metzinger was primarily responsible for opening the new Eye

clinic at the new Orleans VA hospital in 2017 requiring enormous time and skill. The eye clinic

under her supervision opened on time. It was immediately functional on the day it was supposed

to open. Dr. Metzinger's job as Chief of Section also creates additional duties that the

Comparators do NOT perform. She also supervises all of Ophthalmology and Optometry,

including providers and health technicians, a program manager and program support assistant.

She is responsible for oversight of the eye clinic and all personnel. She must respond to all

complaints from our patients and correspond with patients. She oversees the main clinic in New

Orleans, a satellite clinic in Baton Rouge, a tele-retinal program, which now runs independently

but interacts with the coordinators at times and other tele-health services. She must do mid-

year evaluations on employees as well as yearly performance evaluations, maintain files,

including insuring all licenses and trainings and competencies are up to date. She conducts the

monthly section chief meeting, monthly section meeting. She must approve all leave and sign

off on all time cards every other week. She is site director for both LSU and Tulane residents,

which consists currently of six (6) residents about to increase to eight (8) residents daily, as well
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as Delgado technician students, and optometry students for whom she is responsible. She

interacts with pharmacy, logistics, quality, safety and other services to insure that they have all

medicines, supplies, instruments and other devices in a safe up to code manner (Joint

Commission standards). She is also expected to operate and see patients. She constantly reviews

flow and has made multiple process improvements at the VA. She is the ophthalmology liaison

to the Operating Room and responsible for the surgical care given and any issues that arise in

Operating Room. Dr. Metzinger herself operates in the VA operating room on Mondays and

Fridays. She sees patients all day in clinic on Wednesday, for a half day on Thursday and half

day on Tuesday. She performs VA administrative work on Tuesday mornings in addition to

seeing VA patients. On Mondays and Fridays, after finishing up in the Operating Room she goes

back to clinic. On Thursday mornings she performs surgeries at Tulane as part of a cooperative

program and Tulane residents come to the VA. Currently she supervises 8 technicians, 3

optometrists, 1 program manager, 1 psa, 8 ophthalmologists in addition to all the residents and

students.

                                                  22.

                   NO EVIDENCE OF MISFEASANCE
       The VA has admitted there are no documented complaints filed against her by ANY

person, physician or otherwise.      There is also      no evidence whatsoever of any kind of

misconduct, malfeasance, neglect, or conduct meriting disciplinary action against Dr. Metzinger.

Nor was there any evidence of any disciplinary action, in any of the market panel compensation

documents or reports or anywhere in her personnel file.


                                                  23.

                                           DAMAGES
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         BACK PAY: Plaintiffs is entitled to back pay under the EPA that must be computed to

include the pay, allowances and differentials the complainant would have received if the

discrimination at issue had not occurred. 5 CFR 550.805 (a)(2). Back pay includes all forms of

compensation and reflects fluctuations in working time, overtime rates, penalty overtime, Sunday

premium and night work, changing rates of pay, transfers, promotions, and privileges of

employment. The Commission also construes "benefits" broadly to include annual leave, sick

leave, health insurance, and retirement contributions. EEOC MD-110. Chapter 11. The EEOC

states that "'back pay' includes all forms of compensation, and reflects fluctuations in working

time, overtime, rates, penalty overtime, Sunday premium and night work, changing rates of pay,

transfers, promotions, and privileges of employment. Grigsby v. U.S. Postal Service, 102 LRP

15722, EEOC No. 04A10049 (EEOC OFO 2002). When determining the proper amount for a

back pay award, the agency must use the average hours worked by employees in the same

position and the same pay grade. The average hour calculation should include the average

overtime and holiday hours worked by such employees. Gabriel v. Small Business

Administration, 105 LRP 58298, EEOC No. 01A51987 (EEOC OFO 2005). the EEOC has

ordered the agency to recalculate the complainant's back pay award after determining that it

failed to include wages he would have received for overtime, and it may have improperly

deducted wages he earned at "moonlighting" jobs he might have held even if employed by the

agency. Allen v. Department of the Air Force, 96 FEOR 3177, EEOC No. 04940006 (EEOC

1996).

                                                24.

   In calculating a back pay award, an agency should not automatically reduce it by the amount

of any workers' compensation payments received. Instead, the agency should determine what

portion of the workers' compensation benefits was intended to compensate for lost wages. The
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portion of a workers' compensation award intended as reparation for personal injury should not

be deducted from the payment of back wages. Perez v. U.S. Postal Service,105 LRP 10317 ,

EEOC No. 04A40041 (EEOC OFO 2005).


                                                   25.

   However, in computing back pay, an agency "shall grant, upon request of an employee, any

sick or annual leave available to the employee for a period of incapacitation if the employee can

establish that the period of incapacitation was the result of illness or injury." 5 CFR 550.805 (c)

and (d).


                                                   26.

   INTEREST: When interest is payable on a back pay award, interest continues to accrue up

until the time the agency actually issues a check for the back pay and interest. For example,

in Meza v. U.S. Postal Service, EEOC No. 04950025 (EEOC 1996), the EEOC found it was error

for the agency to pay interest only until the date of the complainant's reinstatement. Instead, it

was obligated to pay interest to the complainant for an additional five months, which is how long

it took the agency to issue the actual check for back pay. Hadley Guide to Federal Sector Equal

Employment Law and Practice: Interest on Back Pay.

                                                   27.

       ADDITIONAL TAXES: A complainant may be reimbursed for additional taxes

stemming from a lump sum back pay award, provided that there is sufficient proof of the loss

incurred. Kloock v. U.S. Postal Service, 104 LRP 31331 , EEOC No. 04A40012 (EEOC OFO

2004). The EEOC has recognized that an agency is liable for any increased tax liability resulting

from receipt of a lump sum of back pay in a single tax year. When an individual receives back

pay as a lump sum payment, s/he is entitled to a tax offset payment for the tax year in which the
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payment was received. Additionally, the individual will have the burden of establishing the

amount of increased federal income tax liability to the agency. EEOC MD-110. Chapter 11.

Metzinger the complainant is entitled to a tax offset payment for the agency's lump sum

payment for back pay, explaining that the lump sum causes the extra tax liability, not the back

pay award itself. Mohar v. U.S. Postal Service, 111 LRP 61880 , EEOC No. 0720100019 (EEOC

OFO 2011).


                                                     28.

   ATTORNEYS FEES: Plaintiff is entitled to attorneys fees as an element of damages. If

complainant has been represented by an attorney as defined by 29 C.F.R. § 1614.501(e)(1)(iii),

he/she is entitled to an award of reasonable attorney's fees incurred in the processing of the

complaint. 29 C.F.R. § 1614.501(e). The award of attorney's fees shall be paid by the agency in

accordance with 29 C.F.R. § 1614.501 upon receipt of a 1) Verified Statement of Fees and 2)

case law showing appropriate hourly fee awards dollars per hour as appropriate for attorneys

fees and 3) Certificate of Attorneys Fees providing attorney information and experience.


                                                     29.

                                            TRIAL BY JURY

   Plaintiff is entitled to and requests a trial by jury.

                                       PRAYER FOR RELIEF


       WHEREFORE, Plaintiff Rebecca Metzinger M.D. prays that this Complaint be filed and

served on Defendant, and that after due proceedings there be judgment herein in her favor and

against Defendant for monetary damages as set forth herein and all declaratory and injunctive relief

as requested in this Complaint and any Amending and Supplementing Complaints filed herein, for
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attorneys fees, court costs, litigation expenses and judicial interest and all remedies allowed by law

under the Equal Pay Act.

                                                   Respectfully Submitted,
                                                   BY: /s/Marie Riccio Wisner
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                                                   LAW OFFICES OF MARIE RICCIO
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                                    CERTIFICATE OF SERVICE
       I hereby certify that on this 21 day of May 2019, I electronically filed the foregoing document
with the Clerk of Court by using the CM/ECF system and service will be made as
required by law.                                              /s/ Marie RiccioWisner
                                                              Marie Riccio Wisner
